                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA



DENALY MCALISTER,                      )
                                       )
                            Plaintiff, )
                                       )
      vs.                              )
                                       )                    No. 3:23-cv-0029-HRH
STATE OF ALASKA, DEPARTMENT            )
OF PUBLIC SAFETY, et al.,              )
                                       )
                          Defendants.  )
_______________________________________)



                                        ORDER

                                Motion for Entry of Default
       Plaintiff moves for the entry of default as to defendant Philbrick.1

       On May 18, 2023, defendant Philbrick executed a waiver of service of summons,2

in which he agreed to respond to plaintiff’s complaint within 60 days from May 3, 2023.

Defendant Philbrick’s response to plaintiff’s complaint was due on or about July 3, 2023.

Defendant Philbrick has not responded to plaintiff’s complaint.3



       1
      Docket No. 43. This motion was mistakenly described as a motion for default
judgment on the court’s docket. Plaintiff is seeking the entry of default, not default
judgment as to defendant Philbrick.
       2
       Docket No. 23-1.
       3
        Plaintiff filed an amended complaint on June 20, 2023, a date prior to the date on
which defendant Philbrick was to have responded to plaintiff’s original complaint. It is
unclear to the court whether Philbrick was copied with the amended complaint; but the
fact remains that Philbrick has defaulted on his commitment to serve and file a response
to plaintiff’s complaint by July 3, 2023.

ORDER – Motion for Entry of Default                                                      -1-


      Case 3:23-cv-00029-GMS         Document 53       Filed 08/17/23     Page 1 of 2
       Based upon defendant Philbrick’s waiver of service of summons,4 the court finds
that defendant Philbrick has failed to plead or otherwise defend. Fed. R. Civ. P. 55(a).

The default of defendant Philbrick is now entered.
       Pursuant to Rule 55(b), Federal Rules of Civil Procedure, the court will delay
entry of judgment against defendant Philbrick until such time as a jury verdict has been
rendered. Damages and attorney fees will be calculated at that time and apportioned
against defendant Philbrick based on the verdict.

       The clerk of court will please mail a copy of this order and plaintiff’s first
amended complaint to defendant Philbrick at the address appearing on his waiver.5

       DATED at Anchorage, Alaska, this 17th day of August, 2023.


                                                  /s/ H. Russel Holland
                                                  United States District Judge



cc:    Sawyer Philbrick
       12 Shepard Hill Road
       Holderness NH 03245




       4
       Docket No. 23-1.
       5
       Id. at 2.

ORDER – Motion for Entry of Default                                                      -2-


      Case 3:23-cv-00029-GMS          Document 53       Filed 08/17/23     Page 2 of 2
